Case 3:03-cv-00065-I\/|CR-|\/|D Document 50 Filed 10/29/03 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF FLORIDA

PENSACOLA DIVISION
WARD DEAN,
Plaintiff,
v. Case No. 3203-cv-65/LAC

UNITED STATES OF AMERICA, and
INTERNAL REVENUE SERVICE,

Defendants.
/

 

ORDER AND NOTICE

Defendants’ Motion for Summary Judgment (Doc. 43) will be taken under advisement
by the Court on November 19, 2003. Because the Court does not contemplate scheduling
a hearing on the motion, the parties are directed to file and serve affidavits and any other
documents or materials authorized to be filed under the Federal Rules of Civil Procedure
before the above date. Only those pleadings and evidentiary materials currently in the record
or filed prior to the above date Will be considered by the Court in ruling on this motion.

The motion for Summary judgment Will result in a final judgment being entered for
the moving party if the pleadings, depositions, answers to interrogatories, admissions,

affidavits, and any other appropriate evidentiary materials filed in the record show that there

  
 

 

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Case 3:03-cv-00065-I\/|CR-|\/|D Document 50 Filed 10/29/03 Page 2 of 2

is no genuine issue as to any material fact and that the moving party is entitled to judgment
as a matter of law. FED. R. CIV. P. 56.

Given Plaintiff’ s pro se Status, the Court Would like to make the nature of a summary
judgment motion abundantly clear. When a motion for summary judgment is made and
properly supported, the non-moving party (z`.e., Plaintiff) must respond in accordance With
Rule 56 of the Federal Rules of Civil Procedure. The non-moving party must set forth
specific facts show that there is a genuine issue of material fact that necessitates a trial on the
merits. Unless the non-moving party submits evidence contradicting the moving party’s (i. e.,
Defendants’) assertions, any factual assertions made by the moving party Will be accepted
by the Court as true.1 Therefore, if Plaintiff does not respond, summary judgment (if
appropriate) may be entered against him and in favor of Defendants. If summary judgment

is granted against Plaintiff, then the case Will be completed Without a trial on the merits.

oRDEREl) On tinsde Of october 2003.

~QQ@%,

Lacey A. Collier
United States District Judge

 

l If Plaintiff chooses to respond, then he Will also need to comply With the Local Rules for
the Northern District of Florida in addition to the Federal Rules of Civil Procedure.

Case No. 3.'03-cv-65/LAC Page 2 of 2

